             Case 4:21-cr-00321-BRW Document 3 Filed 12/08/21 Page 1 of 2
                                                                                 EAsr~:?~i\1~Ru.~r
                                                                                             K ,., , AhKANSAs

                                                                                          C O8 2021
                                                                                         ., . ~
                                                                                              i
                              UNITED STATES DISTRJCT COURT
                              EASTE~~~cir~isto~NSAS
                                                                              By·
                                                                                 TAM
                                                                                        ~{:v('
                                                                                                    <;::c~
                                                                                                ,-.,,
                                                                                · - ----- _____::__


UNITED STATES OF AMERJCA                      )
                                              )
                                                     No. 4:21-CR   co~, Uw
V.                                            )      18 U.S .C. § 922(g)(l)
                                              )
DEMARCUSLAMONTDORBINS                         )

                                          INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNT!

        A.      On or about December 6, 2020, the defendant,

                               DEMARCUS LAMONT DORBINS,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a tenn of imprisonment exceeding one year:

                1.     Possession of firearms by certain persons, in Pulaski County, Arkansas,

                       Circuit Cowi in Case Number 60CR 2019-3446; and

                2.     Possession of a controlled substance, in Pulaski County, Arkansas, Circuit

                       Court in Case Number 60CR 1999-4328.

       B.       On or about December 6, 2020, in the Eastern District of Arkansas, the defendant,

                               DEMARCUS LAMONT DORBINS,

knowingly possessed, in and affecting commerce, a firearm, that is: a Ruger, Model Security 9,

9mm handgun, bearing serial number 383-41541, in violation of Title 18, United States Code,

Section 922(g)(l ).




                                                     1


                                                                                                         3
          Case 4:21-cr-00321-BRW Document 3 Filed 12/08/21 Page 2 of 2




                                    FORFEITURE ALLEGATION

       Upon conviction of the offense alleged in Count 1, the defendant, DEMARCUS LAMONT

DORBINS, shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d), Title 21, United States Code, Section 853, and Title 28, United States Code, Section

2461(c), all firearms and ammunition involved in the commission of the offense.




                                                    2
